Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 1 of 6 PageID #: 61152



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 VIRNETX INC., et al                 §
                                     §
 V.                                  §     CIVIL NO. 6:12-CV-855
                                     §
 APPLE INC.                          §
 ______________________________________________________________________________

              MINUTES FOR MOTION HEARING AND PRETRIAL CONFERENCE
                   HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                 AUGUST 3, 2020

 OPEN: 10:02 a.m.                                           ADJOURN: 5:49 p.m.
 _____________________________________________________________________________

 ATTORNEYS FOR PLAINTIFFS: Brad Caldwell, Jason Cassady, Austin Curry, Daniel
                           Pearson, Claire Henry, Chris Bunt, Johnny Ward and Andy
                           Tindel

 ATTORNEY FOR DEFENDANTS: Greg Arovas, Robert Appleby, Jeanne Hefferman, Leslie
                          Schmidt, Joseph Loy, Aaron Resetarits, Akshay Deoras,
                          Glenn Thames and Mike Jones

 LAW CLERK:                           Kain Day

 COURTROOM DEPUTY:                    Betty Schroeder

 COURT REPORTER:               Kate McAlpine
 ______________________________________________________________________________
 ______________________________________________________________________________

 (VIA VIDEO)

 10:02 a.m.     Case called; parties introduce themselves and announce ready; Court welcomes
                everyone and gives preliminary comments

 10:09 a.m.     Court details the reconfiguration of the courtrooms; will use three courtrooms;
                Steger courtroom for trial; Barker courtroom for overflow; Mitchell courtroom for
                jury room; parties can do a walk through of the courtroom on Friday, August 14
                after picking up the questionnaires; each side will have four people inside gallery
                during voir dire
Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 2 of 6 PageID #: 61153



 10:19 a.m.   Mr. Brad Caldwell questions the Court; Court responds

 10:22 a.m.   Mr. Mike Jones questions the Court; Court responds

 10:24 a.m.   Court details the process of jury selection; will have 8 jurors; will split the panel
              in two; first group will be the first half of the alphabet and will start around 9:30;
              second group will be the second half of the alphabet and will start around 2:30;
              panel members will not be assigned a number; after qualification of second panel,
              the panels will be shuffled and a strike list will be made; 3 peremptory strikes per
              side

 10:39 a.m.   Mr. Johnny Ward questions the Court; Court responds

 10:41 a.m.   Mr. Caldwell questions the Court; Court responds - each side will get 30 minutes
              for each voir dire section

 10:42 a.m.   Mr. Chris Bunt questions the Court; Court responds - questionnaires can be
              picked up at noon on August 14

 10:43 a.m.   Court discuss conduct of trial; days will start at 10:00 and end at 4:00; lunch will
              be provided and taken around 11:30 for about an hour; break around 2:00;
              disputes to be heard around 9:30 a.m.; written disputes must be filed by 9:00 p.m.
              the night before and any response to be filed by 5:00 a.m.; there will be no side
              bars during the trial

 10:48 a.m.   Mr. Caldwell questions the Court; Court responds - there will be attorney break
              out rooms - contact Kyla Dean in Tyler

 10:51 a.m.   Mr. Jones questions the Court; Court responds - further questions for the panel
              will be taken up during hardship and cause

 10:53 a.m.   Mr. Greg Arovas questions the Court - Court responds - open to ideas from the
              parties regarding format on objections and side bars

 10:56 a.m.   Court discusses exhibits and demonstratives; parties are to meet and confer
              regarding any disputes before raising a dispute to the Court; exhibits not used do
              not go back to the jury regardless if admitted; demonstratives are not evidence
              unless parties agree otherwise; procedure for sealing courtroom will stay the
              same; jury notebooks will be allowed; there will be no questions from the jury

 11:02 a.m.   Recess

 11:20 a.m.   Mr. Jason Cassady argues VirnetX’s Motions in Limine (dkt. #896) - MIL A

 11:33 a.m.   Mr. Jones responds to argument
Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 3 of 6 PageID #: 61154



 11:35 a.m.   Mr. Cassady replies

 11:37 a.m.   Court responds; Mr. Cassady replies; Court responds

 11:38 a.m.   Ms. Jeanne Heffernan argues Apple’s Motions in Limine (dkt. #895) - MIL 1

 11:5 a.m.    Mr. Caldwell responds to argument

 12:00 p.m.   Break

 12:07 p.m.   Mr. Caldwell continues with response

 12:12 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 12:17 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 12:28 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 12:32 p.m.   Ms. Heffernan replies

 12:39 p.m.   Court questions Ms. Heffernan; Ms. Heffernan responds

 12:42 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds and responds to Ms.
              Heffernan’s reply

 12:47 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 12:49 p.m.   Ms. Heffernan replies

 12:51 p.m.   Recess

 1:55 p.m.    Mr. Daniel Pearson argues VirnetX’s MIL B

 2:02 p.m.    Court questions Mr. Pearson; Mr. Pearson responds

 2:08 p.m.    Court questions Mr. Pearson; Mr. Pearson responds

 2:15 p.m.    Mr. Robert Appleby responds to argument

 2:30 p.m.    Mr. Pearson replies

 2:33 p.m.    Court questions Mr. Pearson; Mr. Pearson responds

 2:36 p.m.    Mr. Appleby responds
Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 4 of 6 PageID #: 61155



 2:38 p.m.   Court questions Mr. Appleby; Mr. Appleby responds

 2:40 p.m.   Mr. Pearson replies

 2:41 p.m.   Mr. Arovas argues Apple’s MIL 2

 2:46 p.m.   Court questions Mr. Arovas; Mr. Arovas responds

 2:53 p.m.   Mr. Caldwell responds to argument

 2:56 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 3:04 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 3:05 p.m.   Mr. Arovas replies

 3:09 p.m.   Mr. Caldwell responds

 3:10 pm.    Mr. Jason Curry argues VirnetX’s MIL C

 3:20 p.m.   Court questions Mr. Curry; Mr. Curry responds

 3:29 p.m.   Court questions Mr. Curry; Mr. Curry responds

 3:30 p.m.   Mr. Appleby responds to argument

 3:36 p.m.   Mr. Curry responds

 3:38 p.m.   Court questions Mr. Appleby; Mr. Appleby responds

 3:39 p.m.   Court questions Mr. Curry; Mr. Curry responds

 3:41 p.m.   Recess

 3:56 p.m.   Mr. Cassady argues VirnetX’s MIL D

 4:07 p.m.   Court questions Mr. Cassady; Mr. Cassady responds

 4:09 p.m.   Ms. Schmidt responds to argument

 4:14 p.m.   Mr. Cassady responds

 4:18 p.m.   Court questions Mr. Cassady; Mr. Cassady responds

 4:20 p.m.   Court questions Ms. Schmidt; Ms. Schmidt responds
Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 5 of 6 PageID #: 61156




 4:21 p.m.   Court questions Mr. Cassady; Mr. Cassady responds

 4:21 p.m.   Akshay Deoras argues Apple’s MIL 5

 4:27 p.m.   Mr. Curry responds to argument

 4:30 p.m.   Court questions Mr. Curry; Mr. Curry responds

 4:35 p.m.   Mr. Deoras responds

 4:37 p.m.   Mr. Cassady argues VirnetX’s MIL E

 4:39 p.m.   Mr. Arovas responds to argument

 4:41 p.m.   Mr. Cassady responds

 4:43 p.m.   Mr. Arovas and Mr. Cassady announce that is all the MILs

 4:43 p.m.   Ms. Hefferman argues Apple’s Daubert motion (exclude Weinstein)

 4:47 p.m.   Mr. Pearson responds to argument

 4:52 p.m.   Court questions Mr. Pearson; Mr. Pearson responds

 4:55 p.m.   Ms. Hefferman responds

 4:56 p.m.   Court questions Ms. Hefferman; Ms. Hefferman responds

 4:59 p.m.   Mr. Pearson responds

 5:01 p.m.   Court questions re Apple’s MIL 6; Mr. Cassady responds parties reached
             agreement

 5:02 p.m.   Mr. Jones argues Apple’s Motion to Continue

 5:06 p.m.   Court request parties to check that speakers are muted

 5:07 p.m.   Mr. Jones continues argument

 5:13 p.m.   Court questions Mr. Jones; Mr. Jones responds

 5:16 p.m.   Court questions Mr. Jones; Mr. Jones responds

 5:19 p.m.   Mr. Caldwell responds to argument
Case 6:12-cv-00855-RWS Document 926 Filed 08/04/20 Page 6 of 6 PageID #: 61157



 5:26 p.m.   Court questions Mr. Caldwell; Mr. Caldwell responds

 5:28 p.m.   Mr. Jones responds

 5:30 p.m.   Court questions Mr. Jones; Mr. Jones responds

 5:33 p.m.   Mr. Caldwell responds

 5:36 p.m.   Court asks parties to check with their clients re all remote testimony; Mr.
             Caldwell responds; Court responds; Mr. Jones responds; Court asks parties to let
             the Court know their clients’ position

 5:39 p.m.   Court will not have ruling on continuance motion in the next couple of days;
             Court will have MIL rulings out soon; Court questions re schedule for teams
             moving in to Tyler; Mr. Caldwell responds; Mr. Jones responds

 5:41 p.m.   Mr. Caldwell questions re time for trial; Court responds 10 hours; Court questions
             re time for closing; Mr. Caldwell responds; Court will consider 30 or 45 minute
             closings; Mr. Arovas responds

 5:44 p.m.   Court asks parties to meet and confer after MIL rulings are out and determine how
             it effects depositions designations and exhibit objections; Mr. Caldwell responds;
             Mr. Arovas responds

 5:46 p.m.   Court addresses renewed MILs; Mr. Cassady responds; Ms. Schmidt responds

 5:49 p.m.   Court will get orders out

 5:49 p.m.   Adjourned
